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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                     Case No.: 0:16-cv-61729-DPG

  SYMBOLOGY INNOVATIONS, LLC,

          Plaintiff

  v.

  BROTHER INTERNATIONAL
  CORPORATION,

          Defendant.

                                  JOINT SCHEDULING REPORT

          Pursuant to this Court’s Order No. 23, Fed. R. Ci. P. 26(f) and 16(b) and S.D. Fla. L.R.

  16.1(b), Plaintiff SYMBOLOGY INNOVATIONS, LLC (“Plaintiff”), and Defendant,

  BROTHER INTERNATIONAL CORPORATION (“Defendant”) (collectively the “Parties”),

  submit the following Joint Conference Report and Proposed Scheduling Order.

    16.1(b)(2)(A)          - The parties have discussed settlement, but the likelihood of settlement

    is uncertain at this time.

    16.1(b)(2)(B)          - The parties do not believe additional parties are likely.

    16.1(b)(2)(C)          - The proposed limits on time required by this rule are made in the

    schedule that is proposed below.

    16.1(b)(2)(D)          - The parties have not yet reached any agreement regarding

    simplification of issues.

    16.1(b)(2)(E)          - The parties are not currently aware of any likely amendment to the

    pleadings, but a deadline has been proposed in the schedule set forth below.

    16.1(b)(2)(F)          - The parties have not yet reached any agreement regarding the matters



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   addressed by this rule.

   16.1(b)(2)(G)        - The parties do not yet have any suggestions regarding the matters

   addressed by this rule,

   16.1(b)(2)(H)        - The parties do not believe referral to a Magistrate Judge or master is

   appropriate.

   16.1(b)(2)(I) - The parties preliminary estimate of time for the time required for trial is 4

   days.

   16.1(b)(2)(J)        - The requested dates for the final pretrial conference, and trial are set

   forth below.

   16.1(b)(3)(A)        -The parties believe this case should be assigned to the Standard Track.

   16.1(b)(3)(B)        - The detailed discovery schedule agreed to by the parties is:


                             DEADLINE OR EVENT                                     Agreed Date

     Parties shall submit proposed Protective Order and E-Discovery                 Monday,
     Order (or file motions for protective order and/or e-discovery                November 7,
     order) by:                                                                       2016

     A mediator must be selected, and scheduling of a time, date and                Monday,
     place for mediation. Parties to exchange initial disclosures by:             November 14,
                                                                                      2016

     Motions to Add Parties or Amend Pleadings                                      Monday,
                                                                                   December 5,
                                                                                      2016

     Plaintiff Serves Infringement Contentions                                      Monday,
                                                                                  December 12,
                                                                                      2016

     Defendant Serves Invalidity Contentions                                        Tuesday,
                                                                                   January 10,
                                                                                      2017


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                         DEADLINE OR EVENT                               Agreed Date

     Parties Exchange Disputed Claim Terms                                Tuesday,
                                                                         January 10,
                                                                            2017

     Parties Exchange Proposed Constructions                              Tuesday,
                                                                         January 17,
                                                                            2017

     Parties File Joint Disputed Claim Terms Chart                        Tuesday,
                                                                         January 24,
                                                                            2017

     Fact and expert discovery on claim construction issues completed      Tuesday,
     by:                                                                 February 28,
                                                                            2017

     Parties to file a Joint Claim Construction and Prehearing          Monday, March
     Statement by:                                                         6, 2017

     Opening Claim Construction Briefs                                  Monday, March
                                                                           20, 2017

     Responsive Claim Construction Briefs                               Monday, April
                                                                          10, 2017

     Reply Claim Construction Briefs                                    Monday, April
                                                                          24, 2017

     Markman Hearing                                                    Monday, May 1,
                                                                            2017

     Disclosure of Expert Reports:                                      Monday, May
                                                                          15, 2017

     Disclosure of Rebuttal Expert Reports                              Monday, June
                                                                          12, 2017

     Fact and Expert Discovery Completed                                 Monday, July
                                                                           10, 2017



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                           DEADLINE OR EVENT                                     Agreed Date

     All summary judgment, Daubert, and other dispositive motions                 Monday,
     must be filed.                                                             September 25,
                                                                                    2017

     Mediation shall be completed                                                  Monday,
                                                                                  October 30,
                                                                                     2017

     All Pretrial Motions and Memoranda of Law, including any                      Monday,
     Motions in Limine must be filed.                                            November 13,
                                                                                     2017

     Status Conference to be conducted on                                          Monday
                                                                                 November 20,
                                                                                     2017

     Resolution of all pretrial motions by the Court

     Joint Pretrial Stipulation, proposed jury instructions and verdict          Wednesday,
     form, or proposed findings of fact and conclusions of law must be         January 3, 2018
     filed

     Pretrial Conference

     Beginning of Trial Period.                                                    Monday,
                                                                                  January 22,
                                                                                     2018

     Jury / Non-Jury                                                              Jury Trial


   16.1(b)(3)(C) – The parties are not currently aware of any issues to be decided by the Court

   regarding the preservation, disclosure and discovery of documents, ESI, or things;

   16.1(b)(3)(D) – The parties will work together to reach an agreement for asserting claims of

   privilege or protection of trial preparation material after production;

   16.1(b)(3)(E) – The parties agree on the deadline of Monday, December 5, 2016 to file

   motions and add parties and/or amend the pleadings:

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   16.1(b)(3)(F) – The parties agree, subject to the approval of the Court, on a deadline of

   Monday, November 13, 2017 for filing all pretrial motions;

   16.1(b)(3)(G) – The date certain for resolution of all pretrial motions by the Court is

   _________;

   16.1(b)(3)(H) – The parties agree that the Manual on Complex Litigation is inapplicable.

   16.1(b)(3)(I) – The parties agree, subject to the approval of the Court, that the pretrial

   conference shall take place on Tuesday, January 16, 2018; the Court sets the pretrial

   conference for _________________;

   16.1(b)(3)(J) – The parties agree, subject to the approval of the Court, that the trial shall be

   set for Monday, January 22, 2018; the Court sets the trial for _________________.

           A proposed Scheduling Order is submitted concurrently.

   DATED: October 11, 2016                              Respectfully submitted,


  /s/ Kevin E. Cudlipp                                 /s/Darrell Payne
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                                                   Attorneys for Defendant Brother
                                                   International Corporation



                                 CERTIFICATE OF SERVICE

          The undersigned does hereby certify that on October 11, 2016, a true and correct copy of
  the foregoing document was sent via electronic mail by the Court’s CM/ECF System to all
  parties listed below on the Service List.

                                               /s/ Kevin E. Cudlipp
                                              KEVIN E. CUDLIPP

                                         SERVICE LIST

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